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                       EXHIBIT H
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        "EXHIBIT H" - 1


Transaction report for Drew                                                               Date range                          Filter       Customer

You can use this transaction report to inform your likely tax obligations. For US         From: 2012-01-01T00:00:00Z          Type: all
customers, Sells, Converts, Rewards Income, Learning Rewards, and Donations are
taxable events. For final tax obligations, please consult your tax advisor.
                                                                                          To: 2022-09-20T22:35:20Z            Asset: all




Timestamp         Transaction Asset       Quantity       Spot Price      Spot Price at   Subtota Total (inclusive of fees   Notes
                  Type                    Transacted     Currency        Transaction     l       and/or spread)



2014-02-          Buy            BTC      1.0            USD             675.58          $675.58 $682.49                    Bought 1.0000 BTC for $682.49 USD
19T15:25:55Z



2014-02-          Send           BTC      0.171          USD             560.47                                             Sent 0.1710 BTC to
21T19:54:38Z



2014-02-          Buy            BTC      0.171          USD             579.82          $99.15   $100.29                   Bought 0.1710 BTC for $100.29 USD
26T16:23:19Z



2014-03-          Paid for an    BTC      0.05261179     USD             626.80                                             Merchant Order
11T03:25:05Z      order



2014-03-          Buy            BTC      0.05261179     USD             622.67          $32.76   $33.24                    Bought 0.05261179 BTC for $33.24 USD
17T15:22:01Z



2014-03-          Buy            BTC      0.122          USD             612.30          $74.70   $75.60                    Bought 0.1220 BTC for $75.60 USD
25T18:23:11Z




                                                                                                                                                         SCHOBER_002978
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                                     Co nbase, nc.     100 ne S ree , Su e20
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       "EXHIBIT H" - 2
Timestamp      Transaction Asset   Quantity      Spot Price    Spot Price at    Subtota Total (inclusive of fees   Notes
               Type                Transacted    Currency      Transaction      l       and/or spread)



2014-03-       Send        BTC     0.00849       USD           585.17                                              Sent 0.00849 BTC to
26T18:05:49Z



2014-03-       Buy         BTC     0.1           USD           554.70           $55.47   $56.17                    Bought 0.1000 BTC for $56.17 USD
28T16:22:07Z



2014-04-       Buy         BTC     0.25          USD           450.12           $112.53 $113.81                    Bought 0.2500 BTC for $113.81 USD
10T20:21:17Z



2014-05-       Buy         BTC     0.25          USD           455.36           $113.84 $115.13                    Bought 0.2500 BTC for $115.13 USD
07T09:20:41Z



2014-05-       Send        BTC     1.28513       USD           443.41                                              Sent 1.28513 BTC to
07T20:15:36Z



2014-06-       Buy         BTC     0.25          USD           657.20           $164.30 $166.09                    Bought 0.2500 BTC for $166.09 USD
01T15:15:59Z



2014-06-       Send        BTC     0.42838       USD           658.04                                              Sent 0.42838 BTC to
06T18:29:34Z



2014-07-       Buy         BTC     0.25          USD           634.96           $158.74 $160.48                    Bought 0.2500 BTC for $160.48 USD
07T02:57:10Z



2014-07-       Send        BTC     0.25          USD           625.89                                              Sent 0.2500 BTC to
13T17:33:17Z




                                                                                                                                                SCHOBER_002979
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                                     Co nbase, nc.     100 ne S ree , Su e20
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       "EXHIBIT H" - 3
Timestamp      Transaction Asset   Quantity      Spot Price    Spot Price at    Subtota Total (inclusive of fees   Notes
               Type                Transacted    Currency      Transaction      l       and/or spread)



2014-07-       Buy         BTC     0.25          USD           602.08           $150.52 $152.18                    Bought 0.2500 BTC for $152.18 USD
25T14:41:18Z



2014-08-       Send        BTC     0.5           USD           458.90                                              Sent 0.5000 BTC to
18T19:25:54Z



2014-09-       Buy         BTC     0.25          USD           469.84           $117.46 $118.78                    Bought 0.2500 BTC for $118.78 USD
08T19:57:34Z



2014-10-       Buy         BTC     0.33          USD           301.52           $99.50 $100.65                     Bought 0.3300 BTC for $100.65 USD
06T02:04:55Z



2014-11-       Buy         BTC     0.305         USD           326.00           $99.43 $100.42                     Bought 0.3050 BTC for $100.42 USD
02T17:37:10Z



2014-11-       Send        BTC     0.885         USD           419.91                                              Sent 0.8850 BTC to
12T19:54:05Z



2014-11-       Buy         BTC     0.4109547     USD           356.54           $146.52 $148.00                    Bought 0.4109547 BTC for $148.00 USD
21T15:23:54Z



2014-11-       Send        BTC     0.4109547     USD           376.86                                              Sent 0.4109547 BTC to
30T16:48:37Z



2014-12-       Buy         BTC     0.33          USD           330.48           $109.06 $110.15                    Bought 0.3300 BTC for $110.15 USD
21T00:32:09Z




                                                                                                                                                SCHOBER_002980
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       "EXHIBIT H" - 4
Timestamp      Transaction Asset   Quantity      Spot Price    Spot Price at    Subtota Total (inclusive of fees   Notes
               Type                Transacted    Currency      Transaction      l       and/or spread)



2015-01-       Send        BTC     0.33          USD           261.91                                              Sent 0.3300 BTC to
04T23:11:38Z



2015-01-       Buy         BTC     0.33          USD           268.58           $88.63 $89.52                      Bought 0.3300 BTC for $89.52 USD
05T00:26:02Z



2015-01-       Buy         BTC     0.45          USD           215.29           $96.88 $97.85                      Bought 0.4500 BTC for $97.85 USD
21T17:50:13Z



2015-02-       Send        BTC     0.78          USD           235.80                                              Sent 0.7800 BTC to
16T16:45:08Z



2015-03-       Buy         BTC     0.36          USD           277.72           $99.98 $100.98                     Bought 0.3600 BTC for $100.98 USD
03T02:20:08Z



2015-04-       Buy         BTC     0.40181152    USD           246.41           $99.01   $100.00                   Bought 0.40181152 BTC for $100.00 USD
01T02:12:31Z



2015-05-       Buy         BTC     0.41906535    USD           236.26           $99.01   $100.00                   Bought 0.41906535 BTC for $100.00 USD
06T18:22:09Z



2015-06-       Buy         BTC     0.44010441    USD           224.97           $99.01   $100.00                   Bought 0.44010441 BTC for $100.00 USD
01T16:47:33Z



2015-06-       Buy         BTC     3.85328021    USD           256.95           $990.10 $1,000.00                  Bought 3.85328021 BTC for $1,000.00 USD
29T23:05:27Z




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       "EXHIBIT H" - 5
Timestamp      Transaction Asset   Quantity      Spot Price    Spot Price at    Subtota Total (inclusive of fees   Notes
               Type                Transacted    Currency      Transaction      l       and/or spread)



2015-08-       Buy         BTC     0.34905097    USD           283.65           $99.01   $100.00                   Bought 0.34905097 BTC for $100.00 USD
05T13:07:27Z



2015-09-       Buy         BTC     0.42728836    USD           231.72           $99.01   $100.00                   Bought 0.42728836 BTC for $100.00 USD
15T14:43:26Z



2015-10-       Buy         BTC     0.01822191    USD           240.37           $4.38    $4.53                     Bought 0.01822191 BTC for $4.53 USD
04T18:33:50Z



2015-10-       Buy         BTC     0.01899607    USD           247.42           $4.70    $4.85                     Bought 0.01899607 BTC for $4.85 USD
07T04:56:36Z



2015-10-       Buy         BTC     0.01506277    USD           256.92           $3.87    $4.02                     Bought 0.01506277 BTC for $4.02 USD
16T05:38:07Z



2015-10-       Buy         BTC     0.01689288    USD           269.34           $4.55    $4.70                     Bought 0.01689288 BTC for $4.70 USD
20T17:34:38Z



2015-10-       Send        BTC     6.25          USD           276.03                                              Sent 6.2500 BTC to
23T01:31:23Z



2015-10-       Buy         BTC     0.01598494    USD           278.39           $4.45    $4.60                     Bought 0.01598494 BTC for $4.60 USD
23T17:19:51Z



2015-10-       Buy         BTC     0.01313599    USD           313.64           $4.12    $4.27                     Bought 0.01313599 BTC for $4.27 USD
31T22:06:10Z




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       "EXHIBIT H" - 6
Timestamp      Transaction Asset   Quantity      Spot Price    Spot Price at    Subtota Total (inclusive of fees   Notes
               Type                Transacted    Currency      Transaction      l       and/or spread)



2015-11-       Buy         BTC     0.01007392    USD           447.69           $4.51   $4.66                      Bought 0.01007392 BTC for $4.66 USD
04T05:51:08Z



2015-11-       Buy         BTC     0.01057687    USD           381.02           $4.03   $4.18                      Bought 0.01057687 BTC for $4.18 USD
09T14:03:47Z



2015-11-       Buy         BTC     0.01315236    USD           333.02           $4.38   $4.53                      Bought 0.01315236 BTC for $4.53 USD
13T18:02:54Z



2015-11-       Buy         BTC     0.01387735    USD           324.99           $4.51   $4.66                      Bought 0.01387735 BTC for $4.66 USD
21T05:54:36Z



2015-11-       Buy         BTC     0.01361184    USD           318.84           $4.34   $4.49                      Bought 0.01361184 BTC for $4.49 USD
25T10:32:58Z



2015-12-       Buy         BTC     0.01109529    USD           359.61           $3.99   $4.14                      Bought 0.01109529 BTC for $4.14 USD
01T18:13:43Z



2015-12-       Buy         BTC     0.01141698    USD           359.99           $4.11   $4.26                      Bought 0.01141698 BTC for $4.26 USD
04T10:22:37Z



2015-12-       Buy         BTC     0.01150686    USD           391.94           $4.51   $4.66                      Bought 0.01150686 BTC for $4.66 USD
07T09:55:09Z



2015-12-       Buy         BTC     0.01006531    USD           427.21           $4.30   $4.45                      Bought 0.01006531 BTC for $4.45 USD
12T18:24:09Z




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       "EXHIBIT H" - 7
Timestamp      Transaction Asset   Quantity      Spot Price    Spot Price at    Subtota Total (inclusive of fees   Notes
               Type                Transacted    Currency      Transaction      l       and/or spread)



2015-12-       Buy         BTC     0.01179164    USD           436.75           $5.15   $5.30                      Bought 0.01179164 BTC for $5.30 USD
22T06:02:52Z



2016-01-       Buy         BTC     0.01089184    USD           434.27           $4.73   $4.88                      Bought 0.01089184 BTC for $4.88 USD
03T06:04:03Z



2016-01-       Buy         BTC     0.00949506    USD           433.91           $4.12   $4.27                      Bought 0.00949506 BTC for $4.27 USD
05T06:25:09Z



2016-01-       Buy         BTC     0.00874603    USD           447.06           $3.91   $4.06                      Bought 0.00874603 BTC for $4.06 USD
10T06:08:27Z



2016-01-       Buy         BTC     0.01159499    USD           406.21           $4.71   $4.86                      Bought 0.01159499 BTC for $4.86 USD
20T18:35:48Z



2016-01-       Buy         BTC     0.01204881    USD           388.42           $4.68   $4.83                      Bought 0.01204881 BTC for $4.83 USD
25T18:32:27Z



2016-02-       Buy         BTC     0.01286113    USD           369.33           $4.75   $4.90                      Bought 0.01286113 BTC for $4.90 USD
03T17:59:12Z



2016-02-       Buy         BTC     0.00997066    USD           402.18           $4.01   $4.16                      Bought 0.00997066 BTC for $4.16 USD
15T18:13:54Z



2016-03-       Buy         BTC     0.0116921     USD           414.81           $4.85   $5.00                      Bought 0.0116921 BTC for $5.00 USD
16T18:56:48Z




                                                                                                                                                SCHOBER_002984
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       "EXHIBIT H" - 8
Timestamp      Transaction Asset   Quantity      Spot Price    Spot Price at    Subtota Total (inclusive of fees   Notes
               Type                Transacted    Currency      Transaction      l       and/or spread)



2016-03-       Buy         BTC     0.01165865    USD           416.00           $4.85   $5.00                      Bought 0.01165865 BTC for $5.00 USD
16T23:37:54Z



2016-03-       Buy         BTC     0.01164689    USD           416.42           $4.85   $5.00                      Bought 0.01164689 BTC for $5.00 USD
24T20:01:03Z



2016-03-       Buy         BTC     0.01163265    USD           416.93           $4.85   $5.00                      Bought 0.01163265 BTC for $5.00 USD
31T20:27:37Z



2016-04-       Buy         BTC     0.01159621    USD           418.24           $4.85   $5.00                      Bought 0.01159621 BTC for $5.00 USD
08T20:00:25Z



2016-04-       Buy         BTC     0.01120662    USD           432.78           $4.85   $5.00                      Bought 0.01120662 BTC for $5.00 USD
16T20:00:50Z



2016-04-       Buy         BTC     0.01043504    USD           464.78           $4.85   $5.00                      Bought 0.01043504 BTC for $5.00 USD
24T20:01:00Z



2016-05-       Buy         BTC     0.01091138    USD           444.49           $4.85   $5.00                      Bought 0.01091138 BTC for $5.00 USD
02T20:00:27Z



2016-05-       Buy         BTC     0.01046318    USD           463.53           $4.85   $5.00                      Bought 0.01046318 BTC for $5.00 USD
09T20:01:04Z



2016-05-       Buy         BTC     0.01068233    USD           454.02           $4.85   $5.00                      Bought 0.01068233 BTC for $5.00 USD
17T20:00:27Z




                                                                                                                                               SCHOBER_002985
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                                                                        e 1250                       +1 888 908-7930 suppor .co nbase.com                 age 9/37

       "EXHIBIT H" - 9
Timestamp      Transaction Asset   Quantity     Spot Price     Spot Price at   Subtota Total (inclusive of fees   Notes
               Type                Transacted   Currency       Transaction     l       and/or spread)



2016-05-       Buy         BTC     0.01085716   USD            446.71          $4.85    $5.00                     Bought 0.01085716 BTC for $5.00 USD
24T20:00:40Z



2016-06-       Buy         BTC     0.00908546   USD            533.82          $4.85    $5.00                     Bought 0.00908546 BTC for $5.00 USD
01T20:00:45Z



2016-06-       Buy         BTC     0.00834782   USD            580.99          $4.85    $5.00                     Bought 0.00834782 BTC for $5.00 USD
08T20:01:07Z



2016-06-       Buy         BTC     0.00698354   USD            694.49          $4.85    $5.00                     Bought 0.00698354 BTC for $5.00 USD
15T20:00:40Z



2016-06-       Buy         BTC     0.00772244   USD            628.04          $4.85    $5.00                     Bought 0.00772244 BTC for $5.00 USD
22T20:01:20Z



2016-06-       Buy         BTC     0.00758215   USD            639.66          $4.85    $5.00                     Bought 0.00758215 BTC for $5.00 USD
29T20:00:50Z



2016-07-       Buy         BTC     0.14624815   USD            677.00          $99.01   $100.00                   Bought 0.14624815 BTC for $100.00 USD
01T19:19:28Z



2016-07-       Buy         BTC     0.00717466   USD            675.99          $4.85    $5.00                     Bought 0.00717466 BTC for $5.00 USD
06T20:00:51Z



2016-07-       Buy         BTC     0.00734103   USD            660.67          $4.85    $5.00                     Bought 0.00734103 BTC for $5.00 USD
13T20:00:46Z




                                                                                                                                              SCHOBER_002986
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                                                                        e 1250 San ranc sco, CA 94111 +1 888 908-7930 suppor .co nbase.com                age 10/37

       "EXHIBIT H" - 10
Timestamp      Transaction Asset   Quantity      Spot Price    Spot Price at    Subtota Total (inclusive of fees   Notes
               Type                Transacted    Currency      Transaction      l       and/or spread)



2016-07-       Buy         BTC     0.01469009    USD           670.52           $9.85   $10.00                     Bought 0.01469009 BTC for $10.00 USD
19T18:43:16Z



2016-07-       Buy         BTC     0.01497552    USD           657.74           $9.85   $10.00                     Bought 0.01497552 BTC for $10.00 USD
26T20:06:56Z



2016-08-       Buy         BTC     0.01796134    USD           548.40           $9.85   $10.00                     Bought 0.01796134 BTC for $10.00 USD
03T05:54:42Z



2016-08-       Buy         BTC     0.01669448    USD           590.02           $9.85   $10.00                     Bought 0.01669448 BTC for $10.00 USD
11T20:01:16Z



2016-08-       Buy         BTC     0.01701503    USD           578.90           $9.85   $10.00                     Bought 0.01701503 BTC for $10.00 USD
18T20:01:50Z



2016-08-       Buy         BTC     0.01701916    USD           578.76           $9.85   $10.00                     Bought 0.01701916 BTC for $10.00 USD
25T20:01:58Z



2016-09-       Buy         BTC     0.01713251    USD           574.93           $9.85   $10.00                     Bought 0.01713251 BTC for $10.00 USD
01T20:05:55Z



2016-09-       Buy         BTC     0.01564405    USD           629.63           $9.85   $10.00                     Bought 0.01564405 BTC for $10.00 USD
08T20:01:14Z



2016-09-       Buy         BTC     0.01613651    USD           610.42           $9.85   $10.00                     Bought 0.01613651 BTC for $10.00 USD
15T20:07:01Z




                                                                                                                                                SCHOBER_002987
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                                                                        e 1250                       +1 888 908-7930 suppor .co nbase.com                 age 11/37

       "EXHIBIT H" - 11
Timestamp      Transaction Asset   Quantity     Spot Price     Spot Price at    Subtota Total (inclusive of fees   Notes
               Type                Transacted   Currency       Transaction      l       and/or spread)



2016-09-       Buy         BTC     0.01642726   USD            599.61           $9.85   $10.00                     Bought 0.01642726 BTC for $10.00 USD
22T20:07:15Z



2016-09-       Buy         BTC     0.01617299   USD            609.04           $9.85   $10.00                     Bought 0.01617299 BTC for $10.00 USD
29T20:06:07Z



2016-10-       Buy         BTC     0.01600084   USD            615.59           $9.85   $10.00                     Bought 0.01600084 BTC for $10.00 USD
06T20:03:21Z



2016-10-       Send        BTC     0.64795      USD            618.68                                              Sent 0.64795 BTC to
09T20:17:55Z



2016-10-       Buy         BTC     0.01541449   USD            639.01           $9.85   $10.00                     Bought 0.01541449 BTC for $10.00 USD
13T20:02:55Z



2016-10-       Buy         BTC     0.01555491   USD            633.24           $9.85   $10.00                     Bought 0.01555491 BTC for $10.00 USD
21T20:06:06Z



2016-10-       Buy         BTC     0.01422867   USD            692.26           $9.85   $10.00                     Bought 0.01422867 BTC for $10.00 USD
28T20:05:32Z



2016-11-       Buy         BTC     0.0140335    USD            701.89           $9.85   $10.00                     Bought 0.0140335 BTC for $10.00 USD
04T20:02:24Z



2016-11-       Buy         BTC     0.01369983   USD            718.99           $9.85   $10.00                     Bought 0.01369983 BTC for $10.00 USD
11T20:04:11Z




                                                                                                                                               SCHOBER_002988
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                                                                        e 1250                       +1 888 908-7930 suppor .co nbase.com                 age 12/37

       "EXHIBIT H" - 12
Timestamp      Transaction Asset   Quantity     Spot Price     Spot Price at    Subtota Total (inclusive of fees   Notes
               Type                Transacted   Currency       Transaction      l       and/or spread)



2016-11-       Buy         BTC     0.01319356   USD            746.58           $9.85   $10.00                     Bought 0.01319356 BTC for $10.00 USD
18T20:01:16Z



2016-11-       Buy         BTC     0.01330789   USD            740.16           $9.85   $10.00                     Bought 0.01330789 BTC for $10.00 USD
25T20:03:32Z



2016-12-       Buy         BTC     0.01278202   USD            770.61           $9.85   $10.00                     Bought 0.01278202 BTC for $10.00 USD
02T20:01:49Z



2016-12-       Buy         BTC     0.01273733   USD            773.32           $9.85   $10.00                     Bought 0.01273733 BTC for $10.00 USD
09T20:04:32Z



2016-12-       Buy         BTC     0.01256634   USD            783.84           $9.85   $10.00                     Bought 0.01256634 BTC for $10.00 USD
16T20:03:41Z



2016-12-       Buy         BTC     0.01091498   USD            902.43           $9.85   $10.00                     Bought 0.01091498 BTC for $10.00 USD
23T20:03:31Z



2016-12-       Buy         BTC     0.01021544   USD            964.23           $9.85   $10.00                     Bought 0.01021544 BTC for $10.00 USD
30T20:03:39Z



2017-01-       Buy         BTC     0.01102412   USD            893.50           $9.85   $10.00                     Bought 0.01102412 BTC for $10.00 USD
06T20:03:40Z



2017-01-       Buy         BTC     0.01188014   USD            829.11           $9.85   $10.00                     Bought 0.01188014 BTC for $10.00 USD
13T20:03:36Z




                                                                                                                                               SCHOBER_002989
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       "EXHIBIT H" - 13
Timestamp      Transaction Asset   Quantity     Spot Price     Spot Price at    Subtota Total (inclusive of fees   Notes
               Type                Transacted   Currency       Transaction      l       and/or spread)



2017-01-       Buy         BTC     0.01088395   USD            905.00           $9.85   $10.00                     Bought 0.01088395 BTC for $10.00 USD
20T20:04:05Z



2017-01-       Buy         BTC     0.27777231   USD            900.02           $250.0 $253.72                     Bought 0.27777231 BTC for $253.72 USD
25T17:08:45Z                                                                    0



2017-01-       Buy         BTC     0.01062658   USD            926.92           $9.85   $10.00                     Bought 0.01062658 BTC for $10.00 USD
27T20:04:57Z



2017-02-       Buy         BTC     0.00964209   USD            1021.56          $9.85   $10.00                     Bought 0.00964209 BTC for $10.00 USD
03T20:03:39Z



2017-02-       Buy         BTC     0.00961844   USD            1024.07          $9.85   $10.00                     Bought 0.00961844 BTC for $10.00 USD
11T20:02:55Z



2017-02-       Sell        BTC     0.1007837    USD            992.22           $100.0 $98.51                      Sold 0.1007837 BTC for $98.51 USD
13T16:25:04Z                                                                    0



2017-02-       Buy         BTC     0.00919168   USD            1071.62          $9.85   $10.00                     Bought 0.00919168 BTC for $10.00 USD
18T20:02:39Z



2017-02-       Buy         BTC     0.00848909   USD            1160.31          $9.85   $10.00                     Bought 0.00848909 BTC for $10.00 USD
25T20:02:52Z



2017-02-       Sell        BTC     0.08698796   USD            1149.58          $100.0 $98.51                      Sold 0.08698796 BTC for $98.51 USD
25T23:15:23Z                                                                    0




                                                                                                                                                SCHOBER_002990
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       "EXHIBIT H" - 14
Timestamp      Transaction Asset   Quantity      Spot Price    Spot Price at    Subtota Total (inclusive of fees   Notes
               Type                Transacted    Currency      Transaction      l       and/or spread)



2017-03-       Buy         BTC     0.02043429    USD           1205.33          $24.63 $25.00                      Bought 0.02043429 BTC for $25.00 USD
01T06:03:37Z



2017-03-       Buy         BTC     0.02070849    USD           1189.37          $24.63 $25.00                      Bought 0.02070849 BTC for $25.00 USD
16T20:03:33Z



2017-03-       Buy         BTC     0.02258877    USD           1090.36          $24.63 $25.00                      Bought 0.02258877 BTC for $25.00 USD
31T20:01:38Z



2017-04-       Buy         BTC     0.02045203    USD           1204.28          $24.63 $25.00                      Bought 0.02045203 BTC for $25.00 USD
07T20:00:55Z



2017-04-       Buy         BTC     0.02075145    USD           1186.91          $24.63 $25.00                      Bought 0.02075145 BTC for $25.00 USD
14T20:04:11Z



2017-04-       Buy         BTC     0.01966355    USD           1252.57          $24.63 $25.00                      Bought 0.01966355 BTC for $25.00 USD
21T20:01:34Z



2017-04-       Buy         BTC     0.01856134    USD           1326.95          $24.63 $25.00                      Bought 0.01856134 BTC for $25.00 USD
28T20:03:33Z



2017-05-       Buy         BTC     0.01575759    USD           1563.06          $24.63 $25.00                      Bought 0.01575759 BTC for $25.00 USD
05T20:01:57Z



2017-05-       Buy         BTC     0.01453181    USD           1694.90          $24.63 $25.00                      Bought 0.01453181 BTC for $25.00 USD
12T20:02:17Z




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       "EXHIBIT H" - 15
Timestamp      Transaction Asset   Quantity     Spot Price     Spot Price at    Subtota Total (inclusive of fees   Notes
               Type                Transacted   Currency       Transaction      l       and/or spread)



2017-05-       Buy         BTC     0.01206455   USD            1948.68          $23.51   $25.00                    Bought 0.01206455 BTC for $25.00 USD
19T20:01:39Z



2017-05-       Buy         BTC     0.01014359   USD            2317.72          $23.51   $25.00                    Bought 0.01014359 BTC for $25.00 USD
26T20:01:51Z



2017-06-       Buy         BTC     0.00967902   USD            2428.96          $23.51   $25.00                    Bought 0.00967902 BTC for $25.00 USD
02T20:02:55Z



2017-06-       Buy         BTC     0.00823965   USD            2853.28          $23.51   $25.00                    Bought 0.00823965 BTC for $25.00 USD
09T20:01:49Z



2017-06-       Buy         BTC     0.00938198   USD            2505.87          $23.51   $25.00                    Bought 0.00938198 BTC for $25.00 USD
16T20:02:15Z



2017-06-       Buy         BTC     0.00862938   USD            2724.41          $23.51   $25.00                    Bought 0.00862938 BTC for $25.00 USD
23T20:07:17Z



2017-06-       Buy         BTC     0.00935527   USD            2513.02          $23.51   $25.00                    Bought 0.00935527 BTC for $25.00 USD
30T20:02:57Z



2017-07-       Buy         BTC     0.10323891   USD            2421.57          $250.0 $253.72                     Bought 0.10323891 BTC for $253.72 USD
02T02:59:27Z                                                                    0



2017-07-       Buy         BTC     0.0092583    USD            2539.34          $23.51   $25.00                    Bought 0.0092583 BTC for $25.00 USD
07T20:01:31Z




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       "EXHIBIT H" - 16
Timestamp      Transaction Asset   Quantity      Spot Price    Spot Price at    Subtota Total (inclusive of fees   Notes
               Type                Transacted    Currency      Transaction      l       and/or spread)



2017-07-       Buy         BTC     0.01065407    USD           2206.67          $23.51   $25.00                    Bought 0.01065407 BTC for $25.00 USD
14T20:01:44Z



2017-07-       Send        BTC     0.34008853    USD           2617.08                                             Sent 0.34008853 BTC to
20T17:44:39Z



2017-07-       Send        BTC     0.52978474    USD           2617.08                                             Sent 0.52978474 BTC to
20T17:45:46Z



2017-07-       Buy         BTC     0.00891506    USD           2637.11          $23.51   $25.00                    Bought 0.00891506 BTC for $25.00 USD
21T20:04:54Z



2017-07-       Buy         BTC     0.00851969    USD           2759.49          $23.51   $25.00                    Bought 0.00851969 BTC for $25.00 USD
28T20:02:06Z



2017-08-       Buy         BTC     0.00826615    USD           2844.13          $23.51   $25.00                    Bought 0.00826615 BTC for $25.00 USD
04T20:05:19Z



2017-08-       Buy         BTC     0.0066014     USD           3561.37          $23.51   $25.00                    Bought 0.0066014 BTC for $25.00 USD
11T20:01:38Z



2017-08-       Buy         BTC     0.00570562    USD           4120.50          $23.51   $25.00                    Bought 0.00570562 BTC for $25.00 USD
18T20:07:21Z



2017-08-       Buy         BTC     0.00544024    USD           4321.50          $23.51   $25.00                    Bought 0.00544024 BTC for $25.00 USD
25T20:11:23Z




                                                                                                                                               SCHOBER_002993
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       "EXHIBIT H" - 17
Timestamp      Transaction Asset   Quantity     Spot Price     Spot Price at    Subtota Total (inclusive of fees   Notes
               Type                Transacted   Currency       Transaction      l       and/or spread)



2017-09-       Buy         BTC     0.00597013   USD            4187.51          $25.00 $26.49                      Bought 0.00597013 BTC for $26.49 USD
11T04:40:52Z



2017-09-       Buy         BTC     0.00655581   USD            3813.41          $25.00 $26.49                      Bought 0.00655581 BTC for $26.49 USD
18T04:36:06Z



2017-09-       Buy         BTC     0.00662588   USD            3773.08          $25.00 $26.49                      Bought 0.00662588 BTC for $26.49 USD
25T03:54:45Z



2017-09-       Send        BTC     0.00105052   USD            3914.99                                             Sent 0.00105052 BTC to
26T04:53:25Z



2017-10-       Buy         BTC     0.00564073   USD            4432.05          $25.00 $26.49                      Bought 0.00564073 BTC for $26.49 USD
02T04:06:47Z



2017-10-       Buy         BTC     0.00537455   USD            4651.55          $25.00 $26.49                      Bought 0.00537455 BTC for $26.49 USD
09T03:45:35Z



2017-10-       Buy         BTC     0.00441516   USD            5662.31          $25.00 $26.49                      Bought 0.00441516 BTC for $26.49 USD
16T04:08:10Z



2017-10-       Buy         BTC     0.00416119   USD            6007.90          $25.00 $26.49                      Bought 0.00416119 BTC for $26.49 USD
23T03:54:33Z



2017-11-       Buy         BTC     0.00334509   USD            7473.64          $25.00 $26.49                      Bought 0.00334509 BTC for $26.49 USD
05T22:47:01Z




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       "EXHIBIT H" - 18
Timestamp      Transaction Asset   Quantity      Spot Price    Spot Price at    Subtota Total (inclusive of fees   Notes
               Type                Transacted    Currency      Transaction      l       and/or spread)



2017-11-       Send        BTC     0.05305171    USD           7900.05                                             Sent 0.05305171 BTC to
17T05:50:52Z



2017-11-       Send        BTC     0.04208854    USD           7900.05                                             Sent 0.04208854 BTC to
17T05:51:29Z



2019-03-       Buy         BTC     0.00192924    USD           4110.43          $7.93   $8.92                      Bought 0.00192924 BTC for $8.92 USD
29T19:20:52Z



2019-04-       Buy         BTC     0.00152806    USD           5189.59          $7.93   $8.92                      Bought 0.00152806 BTC for $8.92 USD
03T19:25:19Z



2019-04-       Send        BTC     0.0034573     USD           4989.94                                             Sent 0.0034573 BTC to
06T01:42:42Z



2019-08-       Send        BTC     0.00355074    USD           10877.16                                            Sent 0.00355074 BTC to
03T21:05:53Z



2020-03-       Send        BTC     0.00133246    USD           8683.90                                             Sent 0.00133246 BTC to
04T16:10:26Z



2020-07-       Send        BTC     0.00096647    USD           9116.34                                             Sent 0.00096647 BTC to
16T19:30:11Z



2020-09-       Send        BTC     0.00057953    USD           10091.43                                            Sent 0.00057953 BTC to
08T15:38:18Z




                                                                                                                                               SCHOBER_002995
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                                                                         e 1250                        +1 888 908-7930 suppor .co nbase.com                  age 19/37

       "EXHIBIT H" - 19
Timestamp      Transaction Asset   Quantity       Spot Price    Spot Price at    Subtota Total (inclusive of fees   Notes
               Type                Transacted     Currency      Transaction      l       and/or spread)



2021-02-       Send        BTC     0.00031694     USD           36225.72                                            Sent 0.00031694 BTC to
03T01:03:45Z



2021-02-       Convert     BTC     2.16e-05       USD           43518.52         $0.91   $0.94                      Converted 0.0000216 BTC to 0.00070168 ETH
28T15:54:36Z



2018-04-       Send        BCH     0.01956913     USD           624.35                                              Sent 0.01956913 BCH to
07T01:17:36Z



2019-08-       Receive     ETH     0.01840716     USD           221.84                                              Received 0.01840716 ETH from an
03T17:45:43Z



2019-08-       Convert     ETH     0.01840716     USD           222.20           $4.04   $4.09                      Converted 0.01840716 ETH to 0.00037234 BTC
03T20:35:36Z



2021-02-       Send        ETH     0.00445018     USD           1313.19                                             Sent 0.00445018 ETH to
28T16:01:20Z
                                                                                                                    33


2021-03-       Send        ETH     0.03725577     USD           1442.20                                             Sent 0.03725577 ETH to
01T01:49:05Z
                                                                                                                    33


2019-04-       Learning    ZRX     3.00409007     USD           0.330000         $0.99   $0.99                      Received 3.00409007 ZRX from Coinbase as a
04T18:24:01Z   Reward                                                                                               learning reward



2019-04-       Learning    ZRX     2.99296355     USD           0.330000         $0.99   $0.99                      Received 2.99296355 ZRX from Coinbase as a
04T18:25:46Z   Reward                                                                                               learning reward




                                                                                                                                                SCHOBER_002996
